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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

 MOLLY FITZPATRICK,                            )
           Plaintiff,                          )
                                               )
 v.                                            )
                                               )            Civil No. 1:16-CV-076-JAW
 CITY OF OLD TOWN                              )
 and                                           )
 KEITH EMERY,                                  )
            Defendant                          )

                           MOTION TO DISMISS WITH PREJUDICE

         NOW COMES Plaintiff Molly Fitzpatrick, by and through undersigned counsel, and

hereby moves this Court for an order dismissing the above-docketed matter with prejudice, and

states as follows.

         The parties to this matter have reached an out-of-court resolution. Plaintiff and Defendants

are in agreement that this matter should be dismissed with prejudice and without costs to either

party.

         WHEREFORE, Plaintiff respectfully requests that this Court dismiss the above-docketed

matter with prejudice.


Date: 4/27/16                                  /s/Walter F. McKee
                                               WALTER F. MCKEE, ESQ.

                                               /s/Matthew D. Morgan
                                               MATTHEW D. MORGAN, ESQ.
                                               Attorneys for Plaintiff
                                               McKee Billings, LLC, P.A.
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                                               Augusta, ME. 04330
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                                        DISTRICT OF MAINE

       MOLLY FITZPATRICK,                           )
                 Plaintiff,                         )
                                                    )
       v.                                           )
                                                    )            Civil No. 1:16-CV-076-JAW
       CITY OF OLD TOWN                             )
       and                                          )
       KEITH EMERY,                                 )
                  Defendant                         )


                                        CERTIFICATE OF SERVICE

      I hereby certify that this Plaintiff’s Motion to Dismiss with Prejudice has been filed with the Court

on April 27, 2016 using the CM/ECF system which will send notice of electronic filing to parties and

counsel of record.

                                                            /s/Walter F. McKee
                                                             Walter F. McKee
                                                            Attorney for Plaintiff
